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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA ex rel.                          Civil Action No. 1:15-cv-00728-CKK
 VERMONT NATIONAL TELEPHONE CO.,

                Plaintiff,

        v.

 NORTHSTAR WIRELESS, LLC, et al.

                Defendants.


    DEFENDANTS’ REPLY IN SUPPORT OF MOTION FOR LEAVE TO FILE
 MEMORANDUM OF POINTS AND AUTHORITIES ON RELATOR’S MOTION FOR
 SHARE OF ALTERNATE REMEDY AND GOVERNMENT’S MOTION TO DISMISS

       Relator’s contention that defendants have no right to be heard at all regarding the possible

dismissal of claims against them seeking $10 billion in damages is facially absurd. Nor is relator

correct that defendants cannot be heard on relator’s motion for a share of the supposed alternate

remedy. Consistent with the foundational principle of our adversarial judicial system, the Court

should have the benefit of all parties’ views before ruling on the pending motions. Defendants’

motion for leave should therefore be granted.

       Relator gets off on the wrong foot in asserting (Opp.1) that defendants seek “a

modification to the Court’s … briefing schedule.” Defendants merely seek leave to file their

memorandum of points and authorities regarding the pending motions in this action against them.

They have not asked (and do not ask) the Court to change any extant deadlines. Relator is of

course free to address defendants’ submission in the context of its reply due on July 8.

       More fundamentally, relator is wrong that “Defendants have no standing or right to

participate” (Opp.2) at this juncture. Subsection 3730(c) of the False Claims Act, which outlines

the “[r]ights of the parties to qui tam actions,” nowhere limits defendants’ right to participate.
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To the contrary, it states that “the court may limit the participation” of the party who “initiat[ed]

the action,” 31 U.S.C. §3730(c)(2)(D)—i.e., “limit the participation” of the relator.

       Relator argues, however (Opp.3), that defendants “have no standing or right to be heard”

because the Supreme Court has stated that a court’s assessment of a motion to dismiss under 31

U.S.C. §3730(c)(2)(A) is “‘likely to involve the relator,’” Opp.3 (quoting United States ex rel.

Polansky v. Executive Health Resources, Inc., 599 U.S. 419, 437 (2023)). But the fact that a

court’s assessment will likely include the relator does nothing to justify excluding other parties.

In fact, Polansky recognized that courts addressing government motions to dismiss “should

endeavor to ensure that substantial justice is accorded to all parties,” 599 U.S. at 437 (emphasis

added). Substantial justice for defendants here surely includes an opportunity to explain that, far

from supporting relator’s allegations, discovery in this case only confirmed that there were no

undisclosed agreements.

       Relator is likewise wrong in contending (Opp.2) that defendants are seeking a “second

bite at the apple” on the motion to dismiss they filed in 2019. In 2019, defendants moved to

dismiss on the ground that relator’s complaint was foreclosed by the FCA’s government-action

bar and otherwise failed to state a claim upon which relief could be granted. See Dkt. 77. The

issue presented by the government’s pending motion to dismiss, by contrast, is whether the

government has “a reasonable argument for why the burdens of continued litigation outweigh its

benefits,” Polansky, 599 U.S. at 438. Defendants’ proposed filing speaks to that question—not

to the government-action bar or relator’s failure to state a claim—by confirming that the

government has reason to “not believe there is sufficient evidence supporting” relator’s

allegations, Dkt. 188 at 16. (And of course the 2019 motion to dismiss has nothing to do with

whether relator is entitled to a share of the supposed alternate remedy.)




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       As to the alternate-remedy motion, relator cites no authority for blocking defendants’

ability to be heard. Relator cites cases (Opp.2-3) holding that “defendant[s] had no ‘right to

participate’ in … share negotiations between the relator and the government,” Miller v.

Holzmann, 575 F.Supp.2d 2, 26 (D.D.C. 2008) (quoting United States ex rel. Taxpayers Against

Fraud v. General Electric Co., 41 F.3d 1032, 1046 (6th Cir. 1994)); see also United States ex rel.

Chiba v. Guntersville Breathables, Inc., 421 F.Supp.3d 1241, 1251 n.3 (N.D. Ala. 2019). Those

cases are irrelevant, as defendants here do not seek to participate in any negotiations between

relator and the government. Defendants’ proposed filing contends that there is no alternate

remedy here in which relator could share.

       Because relator identifies no legitimate basis on which to silence defendants in this

proceeding against them, the motion for leave should be granted.



 June 10, 2024                                     Respectfully submitted,
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